                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                       3:04-cr-197


UNITED STATES OF AMERICA,                       )
                Plaintiff,                      )
                                                )                          ORDER
          v.                                    )
                                                )
COREY MITCHELL ALEXANDER (3),                   )
               Defendant.                       )
                                                )

          THIS MATTER is before the Court on the defendant’s Motion Clarify Restitution Order.

(Doc. No. 91).

          The defendant seeks correction of the Judgment, (Doc. No. 67), to reflect a one-third

share of the restitution owed in this case. However, the Court ordered that the defendant is

jointly and severally liable for the whole amount.1 (Id.).

          IT IS THEREFORE ORDERED that, that the defendant’s motion is DENIED.

          The Clerk is directed to certify copies of this order to Defendant, counsel for Defendant,

the United States Attorney, the United States Marshals Service, and the United States Probation

Office.

                                                    Signed: July 6, 2012




          1
          The term “joint and several liability” means that “each liable party is individually
responsible for the entire obligation.” Black’s Law Dictionary 933 (8th ed. 2004).


     Case 3:04-cr-00197-RJC-DCK              Document 92        Filed 07/06/12     Page 1 of 1
